Case 16-12121-whd   Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                              Document     Page 1 of 14




   IT IS ORDERED as set forth below:



   Date: May 19, 2017                     ___________________________

                                                    W. Homer Drake
                                              U.S. Bankruptcy Court Judge
  _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

IN THE MATTER OF:            :              CASE NUMBER
                             :
PEACH STATE AMBULANCE, INC., :              16-12121-WHD
                             :
                             :              IN PROCEEDINGS UNDER
                             :              CHAPTER 7 OF THE
    DEBTOR.                  :              BANKRUPTCY CODE

                                    ORDER

      Before the Court is the Application for Final Allowance of Compensation and

Reimbursement of Expenses filed by Lamberth, Cifelli, Ellis & Nason, P.A.

(hereinafter “LCEN”) in the above-styled case.      LCEN requests an award of

$31,826.50 as compensation for its representation of Peach State Ambulance, Inc.

(hereinafter the “Debtor”) while this case was in Chapter 11. LCEN also requests

reimbursement of $1,305.37 in expenses. LCEN seeks permission to apply a
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34    Desc Main
                               Document     Page 2 of 14




$20,000 retainer obtained from the Debtor prior to the filing of the petition toward

these amounts, and proposes that the remainder be treated as a Chapter 11

administrative expense.

      Guy G. Gebhardt (hereinafter the “U.S. Trustee”), acting United States

Trustee for Region 21, has objected to LCEN’s application.1 The U.S. Trustee

contends, on information and belief, that the Debtor’s bankruptcy estate is

administratively insolvent, and therefore LCEN must disgorge its $20,000 retainer

to preserve the priority distribution scheme under the Bankruptcy Code.

Additionally, the U.S. Trustee believes that a downward adjustment of LCEN’s fee

is warranted. The U.S. Trustee alleges that LCEN failed to exercise due diligence

in investigating claims and preparing the Debtor’s schedules.

      This matter came on for hearing on March 22, 2017, at 10:10 AM.

Representatives for LCEN and the U.S. Trustee appeared at the hearing, as did


1
  In its brief, LCEN asserts that the U.S. Trustee does not have standing to make this
objection. The plain text of § 307 of the Code belies that argument. That section
allows the U.S. Trustee to “raise and…appear and be heard on any issue in any case
or proceeding under this title.” 11 U.S.C. § 307. The sole exception is that the
U.S. Trustee may not file a plan in a Chapter 11 case. Id. Thus, the Court
concludes that there is no standing issue here.
                                          2
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34    Desc Main
                               Document     Page 3 of 14




James G. Baker, the trustee for the Debtor’s bankruptcy estate. After hearing from

these parties, the Court requested briefing within twenty days and informed the

parties that it would consider how best to proceed.

      The U.S. Trustee and LCEN have filed briefs in support of their positions.

Having considered those briefs, the representations of the parties at the hearing, and

LCEN’s application, the Court concludes as set forth below.

                                    Background

A. The Bankruptcy Case

      The Debtor initiated this case on October 24, 2016, by filing a voluntary

petition under Chapter 11 of the Bankruptcy Code. On November 18, 2017, the

Court approved the employment of LCEN as counsel for the Debtor.

      On December 15, 2016, the U.S. Trustee filed a motion seeking the

appointment of a Chapter 11 trustee. The U.S. Trustee alleged in the motion that

the Debtor, by and through one of its principals, had sold property of the estate

outside of the ordinary course of business. The Court granted the motion by a

consent order entered on December 20, 2016.

      The U.S. Trustee first appointed, and the Court approved, Theo D. Mann as
                                          3
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34    Desc Main
                               Document     Page 4 of 14




the Chapter 11 trustee. However, less than two weeks after his appointment, Mr.

Mann resigned the trusteeship because an attorney for an unscheduled creditor,

Synovus Bank, with which Mr. Mann has a conflict, made an appearance in the case.

After Mr. Mann’s withdrawal, the U.S. Trustee appointed James G. Baker to the

position.

      Shortly after his appointment as trustee, Mr. Baker filed a motion to have the

case converted to Chapter 7. That motion was granted on February 9, 2017. The

U.S. Trustee subsequently appointed Mr. Baker (hereinafter the “Chapter 7

Trustee”) as trustee in the Chapter 7 case.

B. State Bank’s Appearance

      On February 17, 2017, the Chapter 7 Trustee filed two motions. The first

sought authorization to complete certain of the Debtor’s pre-petition business

transactions. The second sought approval to sell an assortment of the Debtor’s

assets, mostly equipment.

      State Bank and Trust Co. (hereinafter “State Bank”) filed limited objections to

both motions. In those objections, State Bank asserted that it held an interest in the

Debtor’s assets as security for two loans: one in the amount of $9,476.04, and the
                                          4
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                               Document     Page 5 of 14




other in the amount of $1,760,385.44. State Bank desired that its interest attach to

any proceeds from the business transactions and the sale of assets.

      Despite these substantial interests, State Bank was not listed on the Debtor’s

schedules, and it did not receive notice of the Debtor’s case. The Chapter 7 Trustee,

who described the appearance of State Bank in the case as “a gut punch,” was able to

work out arrangements with State Bank whereby State Bank’s lien attached to the

proceeds, but carve-outs were provided for the Debtor’s estate to receive something

from the transactions and the sale.

C. The Fee Application

      On February 15, 2017, LCEN filed the instant application. LCEN requests

approval of a total of $33,131.87 in compensation for its representation of the

Debtor and reimbursement for expenses. LCEN also requests permission to apply a

$20,000 pre-petition retainer it received from the Debtor to payment of its fees and

expenses. The remaining $13,131.87 would be paid according to the Chapter 7

distribution scheme as a Chapter 11 administrative expense.

      On March 21, 2017, the U.S. Trustee filed an objection to LCEN’s

application. The U.S. Trustee made two objections: (1) the Court should adjust
                                          5
Case 16-12121-whd   Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                              Document     Page 6 of 14




LCEN’s fee because LCEN was not diligent in preparing the Debtor’s schedules, as

evidenced by the failure to schedule State Bank as a creditor; and (2) because the

estate is administratively insolvent, the Court should require LCEN to disgorge the

$20,000 to preserve the Code’s priority distribution scheme.

      At the hearing held on March 22, 2017, LCEN attempted to explain why State

Bank was not included in the Debtor’s schedules. LCEN maintained that the

Debtor’s principals, whom LCEN assisted in the preparation of the schedules, did

not know about the debt owed to State Bank. Apparently, the Debtor’s liability for

the larger debt is the result of a cross-collateralization agreement involving State

Bank, the Debtor, and the Debtor’s landlord, Tyler Olson, LLC, which is owned by a

principal of the Debtor. Tyler Olson, LLC, took out the large loan and had it

cross-collateralized with another loan that had been made directly to the Debtor.

Despite the existence of this agreement, LCEN insists that the debt appeared

nowhere in the Debtor’s financial statements, and argues that it could not have

known about it.




                                         6
Case 16-12121-whd     Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                                Document     Page 7 of 14




                                      Discussion

A. Reasonableness of LCEN’s Requested Fee

      The fees paid to professionals employed by a bankruptcy estate are subject to

Court review. See 11 U.S.C. §§ 329, 330. Section 330 of the Bankruptcy Code

states that “the court may award to…a professional person…(A) reasonable

compensation for actual, necessary services rendered by the…professional person or

attorney; and (B) reimbursement for actual, necessary expenses.” 11 U.S.C. §

330(a)(1). The amount awarded is not governed by the amount the professional

requests.   See 11 U.S.C. § 330(a)(2).         Instead, the key to the amount of

compensation allowed is reasonableness, and the Code expressly calls for the court

to determine “reasonable compensation.” See 11 U.S.C. § 330(a)(3). The Code

demands that courts consider “all relevant factors,” and provides the following

non-exclusive list:

      (A) the time spent on such services;
      (B) the rates charged for such services;
      (C) whether the services were necessary to the administration of, or
      beneficial at the time at which the service was rendered toward the
      completion of, a case under this title;
      (D) whether the services were performed within a reasonable amount of
      time commensurate with the complexity, importance, and nature of the
                                           7
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                               Document     Page 8 of 14




      problem, issue, or task addressed;
      (E) with respect to a professional person, whether the person is board
      certified or otherwise has demonstrated skill and experience in the
      bankruptcy field; and
      (F) whether the compensation is reasonable based on the customary
      compensation charged by comparably skilled practitioners in cases
      other than cases under this title.

Id. The Code also provides that a court “shall not allow compensation for—(i)

unnecessary duplication of services; or (ii) services that were not—(I) reasonably

likely to benefit the debtor’s estate; or (II) necessary to the administration of the

case.” 11 U.S.C. § 330(a)(4)(A); see also In re Spanjer Bros., Inc., 191 B.R. 738,

748 (Bankr. N.D. Ill. 1996) (suggesting that courts consider “whether the services

rendered promoted the bankruptcy process or administration of the estate”). Courts

should take the responsibility to review fee awards seriously, because, as another

court has bluntly put it, “[t]he estate is not a cash cow to be milked to death by

professionals.” In re Chas A. Stevens & Co., 105 B.R. 866, 872 (Bankr. N.D. Ill.

1989). The burden to show entitlement to fees is on the professional seeking them.

Brake v. Tavormina (In re Beverly Mfg. Corp.), 841 F.2d 365, 371 (11th Cir. 1988);

In re Spanjer Bros., Inc., 191 B.R. at 747.

      In the instant case, the U.S. Trustee impugns LCEN’s efforts in reviewing
                                          8
Case 16-12121-whd    Doc 116    Filed 05/19/17 Entered 05/19/17 11:21:34     Desc Main
                               Document     Page 9 of 14




claims and preparing the Debtor’s schedules. The U.S. Trustee asserts that the

failure to schedule a creditor holding an approximately $1.7 million claim is an

inexcusable oversight that justifies a downward adjustment of fees. In response,

LCEN asserts that it could not have known about the debt with State Bank. It states

in its brief that in preparing the schedules, at least seventy-one financing statements

were discovered. LCEN allegedly reviewed these statements with the Debtor’s

principals, but, either “under the mistaken belief that the matured Note had been paid

or by oversight, [they] did not include State Bank on the initial matrix and did not

include State Bank in the schedules.” Thus, LCEN’s argument is, essentially, that

the principals did not know about the debt, so LCEN could not have known about the

debt.

        The Court finds that LCEN has failed to show that it is entitled to the full

amount of fees requested.        The failure to schedule a creditor holding an

approximately $1.7 million claim is not an omission to be written off lightly. While

LCEN asserts that it performed a search of the public records and reviewed the

statements on file, it has not presented any evidence that it did so. The time log

attached to LCEN’s application has a 2.5 hour entry labeled “Conference with
                                          9
Case 16-12121-whd    Doc 116     Filed 05/19/17 Entered 05/19/17 11:21:34      Desc Main
                               Document      Page 10 of 14




[principals] re filings and related issues and strategies,” but that is not sufficient to

show LCEN acted diligently in reviewing financing statements and identifying

creditors.

      In addition, the Court takes note of the failure to identify Synovus Bank as a

creditor. The failure to schedule Synovus Bank, which has filed a $300,000 claim

in the case, caused the U.S. Trustee to have to find a new Chapter 11 trustee when

Mr. Mann withdrew due to a conflict. LCEN has given no explanation for the

failure to schedule Synovus Bank, though the Court imagines the excuse is the same

as its explanation for the failure to schedule State Bank: the Debtor’s principals did

not identify Synovus Bank as a creditor.

      The failure to schedule State Bank and Synovus Bank suggests a lack of

diligence on the part of LCEN in its representation of the Debtor, and the Court has

nothing from which to conclude the opposite. Consequently, LCEN has not carried

its burden of showing its entitlement to all of the fees it requests.

      Looking at the documents attached to LCEN’s application, it appears that

LCEN claims 19.1 hours of work related to preparing the petition, identifying

creditors, and preparing the schedules, including an amendment. Elizabeth A.
                                           10
Case 16-12121-whd    Doc 116     Filed 05/19/17 Entered 05/19/17 11:21:34     Desc Main
                               Document      Page 11 of 14




Miller billed 9.8 of those hours at a rate of $195 per hour. G. Frank Nason, IV,

billed the remaining 9.3 hours at a rate of $395 per hour. This leads to a total cost of

$5,584.50 related to the preparation of schedules and identification of creditors.

Given the fact that two major creditors of the Debtor, including one holding a claim

for more than $1 million, were not scheduled, the Court believes that a reduction by

this amount is warranted. Therefore, the Court will award LCEN its requested fees

and expenses reduced by $5,584.50.

B. The Retainer

      The parties have also raised the issue of how any fees the Court awards to

LCEN will be paid. LCEN, understandably, wants to apply the $20,000 retainer it

received pre-petition, and have any remainder treated as a Chapter 11 administrative

expense. The U.S. Trustee, conversely, asserts that the retainer is property of the

estate, the estate is administratively insolvent, and LCEN should be made to

disgorge the $20,000 for distribution to creditors according to the Chapter 7 scheme.

      To understand why the U.S. Trustee is demanding the disgorgement of the

retainer, it is necessary to understand the nature of LCEN’s claim for fees and how it

will be treated in the Chapter 7 case. LCEN’s claim, because it is “compensation
                                          11
Case 16-12121-whd   Doc 116     Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                              Document      Page 12 of 14




and reimbursement awarded under section 330(a) of this title,” is an “administrative

expense.”    11 U.S.C. § 503(b)(2).       In the Chapter 7 distribution scheme,

administrative expenses such as LCEN’s claim are given priority, second only to

domestic support obligations. See 11 U.S.C. § 706(a)(1); see also 11 U.S.C. §

507(a)(2). Claims within the same level of priority are paid pro rata from available

funds. 11 U.S.C. § 726(b). However, in a case converted to Chapter 7 from some

other chapter, administrative expenses incurred after the conversion have priority

over administrative expenses incurred prior to the conversion. Id. Thus, in a case

such as the Debtor’s, which began as a Chapter 11 case but was converted to Chapter

7, administrative expenses incurred while the case was in Chapter 7 must be paid in

full before any payments are made toward the expenses incurred while the case was

in Chapter 11.

      In some cases, the subordination of pre-conversion expenses is a non-issue, as

there is enough money to go around. But by placing Chapter 11 administrative

expenses on a lower tier than Chapter 7 expenses, the Code creates a problem for

attorneys holding a retainer when the case is “administratively insolvent,” that is,

when there are insufficient funds in the estate to pay all administrative expense
                                         12
Case 16-12121-whd    Doc 116     Filed 05/19/17 Entered 05/19/17 11:21:34   Desc Main
                               Document      Page 13 of 14




claims in full. The issue in that situation is whether allowing a professional to

apply a retainer to pay its administrative expense claim incurred prior to conversion,

and in that way to receive more than the professional would in an ordinary pro rata

distribution, violates the Chapter 7 priority scheme.

      Critically, whether the instant case is administratively insolvent remains to be

seen. The U.S. Trustee asserts in his motion that the case is administratively

insolvent. However, at the March 22nd hearing, the Chapter 7 Trustee stated that

the case is too young to reach a definite conclusion. The Chapter 7 Trustee alluded

to a few possible avenues by which he could recover assets, including a potential

preference action, but never committed as to whether the case was administratively

insolvent.

      In light of the Chapter 7 Trustee’s comments concerning administrative

insolvency, the Court declines to consider the retainer-disgorgement issue at this

time. Though the case appears to be administratively insolvent at the moment,

there is the possibility that the Chapter 7 Trustee will recover sufficient assets to

provide for all administrative expenses without requiring the disgorgement of

LCEN’s retainer. Should the Chapter 7 Trustee, after completing his investigation
                                          13
Case 16-12121-whd    Doc 116     Filed 05/19/17 Entered 05/19/17 11:21:34      Desc Main
                               Document      Page 14 of 14




into the assets available for distribution, determine that the case is administratively

insolvent, the Court will take up the issue of LCEN’s retainer at that time.

                                     Conclusion

      In accordance with the foregoing, it is hereby ORDERED that the

Application for Final Allowance of Compensation and Reimbursement of Expenses

is GRANTED IN PART. LCEN is awarded $26,242 in compensation for its

representation of the Debtor, and $1,305.37 as reimbursement for its expenses. If

necessary, the Court will determine whether LCEN may apply its $20,000 retainer to

the payment of those fees and expenses at a later date.

      IT IS FURTHER ORDERED that the Chapter 7 Trustee shall, upon

completion of his investigation concerning the recovery of assets for the estate, file a

status report with the Court, with service on LCEN and the U.S. Trustee, informing

the Court whether the estate is administratively insolvent.

      The Clerk is DIRECTED to serve this Order on the Debtor, LCEN, the

Chapter 7 Trustee, and the U.S. Trustee.

                               END OF DOCUMENT


                                           14
